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 5
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                                      EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA, )                           CR. No. S-03-371 MCE
 9                                 )
                       Plaintiff,  )                STIPULATION AND ORDER
10        v.                       )
                                   )
11                                 )
     ERIC NEWBORN, et al,          )
12                                 )
                       Defendants. )
13   ______________________________)
14
              The defendant, Eric Newborn, through his undersigned counsel, and the United States,
15
     through its undersigned counsel, agree and stipulate that the status conference hearing currently
16
     scheduled for Thursday, July 24,2008 should be vacated and continued until Thursday, August
17
     21, 2008, at 9:00 a.m..
18
          Further continuance is necessary for further plea negotiations and preparation of formal plea
19
     agreement. The parties agree and stipulate that time should be excluded under the Speedy Trial
20
     Act pursuant to Local Code T4 for further plea neogiation and due to the complexity of the case
21
     [Local Code T2], up to and including August 21, 2008.
22
              I, William E. Bonham, the filing party, have received authorization from the government
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     to sign and submit this stipulation and proposed order on its behalf and that defense counsel have
24
     authorization from his client.
25
     //
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     //
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     //
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     //
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 1      Accordingly, the defendants and the United States agree and stipulate that the status
 2   conference should be continued until 9:00 a.m. on Thursday, August 21, 2008.
 3   Dated: July 22, 2008
 4                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 5
                                                          /s/ William E. Bonham
 6                                                  By:_______________________
                                                          WILLIAM S. WONG
 7                                                        Assistant U.S. Attorney
 8   Dated: July 22, 2008
                                                            ERIC NEWBORN
 9                                                          Defendant
10
                                                    By: /s/William E. Bonham
11                                                  WILLIAM E. BONHAM
                                                         Counsel for Defendant
12
13                                                  ORDER
14      IT IS SO ORDERED. This matter is continued until 9:00 a.m. on Thursday, August 21, 2008
15   for further status. I find that the continuance is necessary for the parties to further engage in plea
16   negotiations and settlement of the case and for preparation of formal plea agreement. I further
17   find that the needs of counsel to further negotiations to settle the case exceeds the needs of the
18   public for a trial within 70 days, so that the interests of justice warrants a further exclusion of
19   time. Accordingly, time should be excluded under the Speedy Trial Act for negotiations and
20   preparation [local code T4] and due to the complexity of the case [Local Code T2]up to and
21   including August 21, 2008.
22
      Dated: August 4, 2008
23
                                                     ________________________________
24                                                   MORRISON C. ENGLAND, JR.
25                                                   UNITED STATES DISTRICT JUDGE

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